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                         UNITED STATES DISTRICT COURT
                                                           for the
                                                District of Minnesota

,
                                           Plaintiff(s),

v.                                                                   Case No. 0:18−mc−00076−WMW−KMM

,

                                           Defendant(s).

                                NOTICE OF FILING OF OFFICIAL TRANSCRIPT


Notice is hereby given that an official transcript of a proceeding has been filed by the court reporter/transcriber in the
above−captioned matter.

The parties have seven (7) calendar days as of the date of this filing to file a Notice of Intent to Request Redaction of
this transcript to redact personal identifiers in accordance with Fed. R. Crim. P. 49.1 and Fed. R. Civ. P. 5.2. Please
review Local Rule 5.5 for the rules in this district to redact information from transcripts. Any party needing a copy of
the transcript to review for redaction purposes may purchase a copy from the court reporter or view the document at
the public terminals located in the Clerk's Office.

In accordance with Judicial Conference policy and Local Rule 80.1, after 90 calendar days from the date of this filing,
the transcript may be made remotely electronically available to the public. Case participants who have purchased a
copy of the transcript from the court reporter and have a CM/ECF account will have remote electronic access to the
transcript during the 90−day restriction period.




Date:       November 26, 2018                                                     s/ Renee Rogge
                                                                                Official Court Reporter

Renee Rogge
U.S. Courthouse
300 South Fourth Street
Minnneapolis, MN 55415
(612) 664−5107
Renee_Rogge@mnd.uscourts.gov
